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                         UNITED STATES DISTRICT COURT
               NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

UNITED STATES OF AMERICA,                                        )
                                                                 )
                                                    Plaintiff,   )
                                                                 ) Case No.: 19 CR 567-1
                                    v.                           )
                                                                 )
ROBERT KELLY,                                                    )
                                                                 ) Hon. Harry D. Leinenweber
                                               Defendant.        )

                                                 NOTICE OF MOTION

TO:        All Counsel of Record (ECF)

       PLEASE TAKE NOTICE that on Wednesday, September 4, 2019, at
10:00 a.m., or as soon thereafter as we will be heard, Defendant, through his
counsel, will appear before Judge Harry D. Leinenweber, in courtroom 1941 of
the Dirksen Federal Building, 219 South Dearborn Street, Chicago, Illinois,
and shall then present Defendant’s Motions, copies of which has already been
filed.

                                                                 Respectfully submitted,

                                                                 /s/ Christopher T. Grohman
                                                                 CHRISTOPHER T. GROHMAN,




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                                               CERTIFICATE OF SERVICE

      Christopher T. Grohman, Attorney at Law, hereby certifies that the
foregoing Defendant’s Notice of Motion was served on August 29, 2019, in
accordance with Fed.R.Crim.P.49, Fed.R.Civ.P.5, LR 5.5, and the General
Order on Electronic Case Filing (ECF) pursuant to the district court’s system
as to ECF filers.


                                                            /s/ Christopher T.Grohman




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